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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JANET LOWE, et al.                             :
     Plaintiffs,                               :             CIVIL ACTION NO.
                                               :             3:16-CV-381 (JCH)
       v.                                      :
                                               :
PLANNING & ZONING COMMISSION                   :             JANUARY 10, 2018
OF THE TOWN OF MANSFIELD, et al.               :
     Defendants.                               :

                RULING RE: MOTIONS TO DISMISS (DOC. NOS. 118 & 119)

I. INTRODUCTION

       Plaintiffs Janet Lowe, Amin M. Keshwani, Ling-Chuan Chu, Helen Jane Fried,

and Maryllyn Donna Fairfield (collectively “plaintiffs”) bring this action against the Town

of Mansfield, the Town of Mansfield Planning and Zoning Commission (“PZC”), Paul

Shapiro, Matthew Hart, Linda M. Painter, and JoAnn Painter (“Mansfield defendants”)

for alleged deprivations of rights under the Fair Housing Act (“FHA”), the Due Process

Clause of the Fourteenth Amendment, and municipal zoning regulations arising from the

procedure used to approve a special permit application for a two-bedroom efficiency

unit. Plaintiffs also bring a claim for private nuisance against Adam Lambert

(“Lambert”), the owner of the residence that won approval from the PZC.

       The Fourth Amended Complaint (Doc. No. 116) alleges violations of section 8-23

of the Connecticut General Statutes, “Preparation, Amendment or Adoption of Plan of

Conservation and Development” (Count One); violations of the right to procedural due

process under the Fourteenth Amendment pursuant to section 1983 of title 42 of the

United States Code (Count Two); and violations of the Fair Housing Act (“FHA”), 42

U.S.C. § 3604, and section 1982 of title 42 of the United States Code (Count Three)



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against the Mansfield defendants. The Fourth Amendment Complaint also brings a

claim for private nuisance against Lambert (Count Four).

       Lambert moved to dismiss Count Four (Doc. No. 118) and the Mansfield

defendants moved to dismiss Counts One, Two, and Three (Doc. No. 119). For the

reasons that follow, both Motions to Dismiss are granted and the Fourth Amendment

Complaint is dismissed in its entirety.

II. FACTUAL BACKGROUND1

       Plaintiffs live in the neighborhood of Mulberry Village in the Town of Mansfield,

Connecticut. 4th Am. Compl. at ¶ 1. Janet Lowe, Helen Jane Fried, and Maryllyn

Donna Fairfield are over the age of 65 and have disabilities as defined by the FHA. Id.

at ¶¶ 7, 10, 11. Amin M. Keshwani and Ling-Chuan Chu also reside in Mulberry Village.

Id. at ¶¶ 8, 9.

       On May 7, 2015, Adam Lambert submitted a special permit application for a two-

bedroom efficiency unit in Mulberry Village, which is zoned as a single-family district.

Id. at ¶ 26. According to a zoning agent, the application was the first two-bedroom

efficiency unit request in over twenty years. Id. at ¶ 26. The Zoning Regulations of the

Town of Mansfield, Article X, Section L1 govern consideration of applications for

efficiency units. Id. at ¶ 27. The statement of purpose provides:

       This amendment will meet an identified need to provide housing for
       immediate family members, usually the parent(s) of either spouse. In
       addition, it will also allow young individuals, or couples another housing
       option when unable to purchase houses, given the rapid and expected
       continued increase in the price of the conventional single-family unit. The
       efficiency unit may also act as a source of income for financially
       overburdened families (emphasis added). It also may allow the elderly to



       1   All “facts” are taken from the Fourth Amended Complaint unless otherwise stated.

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       continue to live in their own homes knowing there is someone else on the
       premises in case of emergency.

Id. Lambert’s application did not state that he is “financially overburdened.” Id.

at ¶ 28.

       On June 2 and June 10, 2015, the PZC notified the public that a hearing on the

special permit application for the efficiency unit at 17 Olsen Drive was scheduled. Id. at

¶ 30. The notice did not indicate that the application was for a “non-compliant

commercial use” or that the Town’s Article X income eligibility requirement for the

commercial use of an efficiency unit had been amended. Id. at ¶¶ 30–31, 92. The

Mansfield defendants also did not publicize that “the Town’s Article X’s [sic] income

eligibility requirement for the commercial use of an efficiency unit had been legislatively

changed” despite a requirement that proposed changes to town zoning regulations be

publicized and discussed at a public hearing. Id. at ¶¶ 31–32.

       On June 15, 2015, the PZC held a public hearing to consider the Lambert special

permit application. Id. at ¶¶ 3, 31. When a PZC member raised the efficiency unit

income eligibility requirement at the meeting, JoAnn Goodwin, the PZC Chairperson,

stated that the PZC could not consider income eligibility when considering the Lambert

special permit application. Id. at ¶¶ 45–46, 68, 82. Linda M. Painter, the Director of

Zoning and Development, stated that the Town has a “pattern and practice of not

considering the Article Ten income eligibility requirement or considering protected class

disparate impact assessments when assisting the PZC with draft approval motions.” Id.

at ¶¶ 48, 70, 80, 83. The PZC determined that it could not consider harm to the elderly

with disabilities when considering the special permit application. Id. at ¶ 3, 65. Plaintiffs

allege that the permit was granted without prior notice of new zoning legislation or

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consideration of the long-term disparate impact on Fried and Lowe specifically and the

elderly with disabilities in Mulberry Village in general. Id. at ¶¶ 4, 65, 101, 103. Notice

of the PZC’s decision was published in The Chronicle on June 22, 2015. Id. at ¶ 94.

       After the zoning decision approving Lambert’s application and its appeal to the

Superior Court, Ben Shaiken—then a member of the Zoning Board of Appeals and

currently the Town Counselor—visited Lowe’s home and told her that her appeal was a

waste of taxpayer money. Id. at ¶ 49. Although plaintiffs requested the transcript of the

deliberations over the Lambert special permit application, the transcript they received

“established that the PZC did not render a decision on a Lambert property at 17 Olsen

Drive but on a parcel identified as 17 Nelson Drive.” Id. at ¶¶ 106–08.

       As a result of deforestation and movement of soil on Lambert’s property, the

surface water drainage from the Lambert property to the Keshwani and Chu property

“was altered in November of 2016.” Id. at ¶ 37. The Town of Mansfield issued a stop

work notice to Lambert on November 7, 2016, because he did not have a permit for

construction on his property, the building was larger than the dimensions the Town had

approved, and an assessment of the retaining wall between the Lambert and Keshwani

and Chu property was needed. Id. at ¶ 38. Keshwani has repeatedly asked Lambert to

keep his chickens and dogs off of the Keshwani and Chu property and to conform his

outdoor fires to the “town permit assessment,” but to no avail. Id. at ¶¶ 39–40. Lambert

has also not heeded Keshwani’s requests that Lambert not move his earth moving

equipment through an “unauthorized driveway” that passes through Keshwani’s

property. Id. at ¶¶ 41–42. Finally, Keshwani believes that, rather than erect the 10 by

10-foot shed that the Town had approved in Lambert’s special permit application,



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Lambert will be constructing a 10 by 26-foot structure where his father will store heavy

land moving equipment from his construction business. Id. at ¶ 43.

        The values of the Keshwani and Chu property and the Fried and Fairfield

property have been reduced as a result of the introduction of the Lambert residence,

which they suspect will be a rental unit, in a single-family zoned district. Id. at ¶¶ 50, 51,

72, 86. Keshwani, Chu, Fried, and Fairfield allege that they have been harmed by the

Mansfield defendants’ “actions and policies that led to the granting of the Lambert

permit for commercial use in [their] neighborhood; by the predictable resultant

segregation of elderly people with disabilities away from [their] neighborhood; by [their]

loss of ease in feeling free to walk in the Mulberry Village neighborhood with its unlawful

expansion of commercial use traffic; and by the litigation costs associated with

protecting [their] rights.” Id. at ¶¶ 54, 59, 75, 89.2 The plaintiffs do not appear to allege




          2 Defendants contend that Fried’s Affidavit, 4th Am. Compl., Ex. A, cannot be considered as part

of the Fourth Amended Complaint because it is not a proper exhibit under Rule 10(c). See Defs.’ Mem. of
Law in Supp. of Mot. to Dismiss (“Defs.’ Mem.”) (Doc. No. 119-1) at 5–6; Reply to Pls.’ Obj. to Mansfield
Defs.’ Mot. to Dismiss (“Reply”) (Doc. No. 123) at 2. The Second Circuit has held that an affidavit is not a
“written instrument” under Rule 10(c). See Smith v. Hogan, 794 F.3d 249, 254 (2d Cir. 2015); Fed. R.
Civ. P. Rule 10(c) (“[a] copy of a written instrument that is an exhibit to a pleading is a part of the pleading
for all purposes.”) However, the Second Circuit has permitted the consideration of “documents that the
plaintiffs either possessed or knew about and upon which they relied in bringing the suit,” City of Pontiac
Policemen’s & Firemen’s Ret. Sys. V. UBS AG, 752 F.3d 173, 179 (2d Cir. 2014), or could be considered
‘integral’ because the complaint “relies heavily upon its terms and effect[.]” Int’l Audiotext Network, Inc. v.
Am. Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995).

         Defendants argue that the plaintiffs did not rely on the Affidavit in bringing suit because the
Affidavit postdated the initial filing of the lawsuit and that it is not integral to the Fourth Amended
Complaint because it is referenced only three times and is never quoted. See Defs.’ Mem. at 6.
Defendants do not cite authority for the proposition that the plaintiffs may not be deemed to have relied on
a document when filing an amended complaint—as opposed to the initial complaint—or that referencing
the Affidavit three times is insufficient for the Affidavit to be considered integral to the Fourth Amended
Complaint. The court will consider Fried’s Affidavit, which merely restates allegations made in the Fourth
Amended Complaint in somewhat more detail, as an exhibit. Cf. DLJ Mortg. Capital, Inc. v. Kontogiannis,
726 F. Supp. 2d 225, 234 (E.D.N.Y. 2010) (accepting charts as exhibits to an amended complaint where
the charts did not pose any new allegations or legal theories).

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that anyone has moved into the Lambert property or that there has been an actual

increase in traffic in Mulberry Village.

III. PROCEDURAL BACKGROUND

       Plaintiffs filed this lawsuit against the PZC in the Superior Court for the Judicial

District of Hartford on July 7, 2015. Notice of Removal (Doc. No. 1) at 1. After plaintiffs

moved to amend the Complaint, and the Amended Complaint became operative,

defendants removed the action to federal court on March 7, 2016. Id. In a Second

Amended Complaint filed on September 26, 2015, plaintiffs added the Town of

Mansfield; Mayor of Mansfield, Paul Shapiro; Town Manager, Matthew Hart; Director of

Zoning, Linda M. Painter; Development Zoning Commission Chair, JoAnn Goodwin; and

Adam Lambert as defendants. 2nd Am. Compl. (Doc. No. 53).

       When the Mansfield defendants moved to dismiss (Doc. No. 73), the plaintiffs

filed a Motion for Leave to File 3rd Amended Complaint (Doc. No. 84). Plaintiffs only

included the first three pages of a supporting brief, which did not indicate whether the

Third Amended Complaint was intended to moot the pending Motion to Dismiss or was

instead raising new claims. See Ruling re. Mot. to Dismiss and Mot. for Leave to File

Third Amended Complaint (“Ruling”) (Doc. No. 112) at 2. In response to the court’s

subsequent Order to Show Cause why the unopposed Motion to Dismiss should not be

granted (Doc. No. 90), plaintiffs responded that the Third Amended Complaint would

moot the Motion to Dismiss (Doc. No. 92), and also filed an opposition to the Motion to

Dismiss (Doc. No. 95).

       The court granted defendants’ Motion to Dismiss the Second Amended

Complaint. It found that the Second Amended Complaint violated Rule 8 by listing

seven counts that each contained merely two paragraphs: one paragraph incorporating
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all of the preceding paragraphs, including earlier counts, and a second paragraph

providing a conclusory statement such as “[t]he conduct of the defendants violated the

U.S. Const. amend. XVI.” Ruling at 6–8; 2d Am. Compl. at ¶ 36. The court granted

plaintiffs’ Motion to Amend in part, but denied it as to the proposed Third Amended

Complaint because allowing the Third Amended Complaint to become operative would

have been futile in view of its failure to allege facts in support of numerous conclusory

statements. Id. at 9–12. On May 22, 2017, plaintiffs filed their Fourth Amended

Complaint (Doc. No. 116) and, on May 25, 2017, the Mansfield defendants and Lambert

each filed a Motion to Dismiss (Doc. Nos. 118 and 119).

IV. LEGAL STANDARD

       When deciding a motion to dismiss pursuant to Rule 12(b)(6), the court must

determine whether a plaintiff has stated a legally cognizable claim by making allegations

that, if true, would show that the plaintiff is entitled to relief. See Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 557 (2007) (interpreting Rule 12(b)(6), in accordance with Rule

8(a)(2), to require allegations with “enough heft to ‘sho[w] that the pleader is entitled to

relief” (alteration in original)). The court takes all factual allegations in the complaint as

true and draws all reasonable inferences in the plaintiff’s favor. Crawford v. Cuomo,

796 F.3d 252, 256 (2d Cir. 2015). However, the principle that a court must accept a

complaint’s allegations as true is inapplicable to “[t]hreadbare recitals of the elements of

a cause of action, supported by mere conclusory statements.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

       To survive a motion pursuant to Rule 12(b)(6), “a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Id. (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when
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the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged. The plausibility standard is not

akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

V. DISCUSSION

        A.     Fourteenth Amendment

       When analyzing procedural due process claims under the Fourteenth

Amendment, a court ask “whether there exists a liberty or property interest of which a

person has been deprived, and if so . . . whether the procedures followed by the State

were constitutionally sufficient.” Victory v. Pataki, 814 F.3d 47, 59 (2d Cir. 2016)

(quoting Swarthout v. Cooke, 562 U.S. 216, 219 (2011)). Property interests “are

created[,] and their dimensions are defined by[,] existing rules or understandings that

stem from an independent source such as state law—rules or understandings that

secure certain benefits.” Looney v. Black, 702 F.3d 701, 706 (2d Cir. 2012) (quoting

Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 577 (1972)). “To have a property

interest in a benefit, a person clearly must have more than an abstract need or desire

and more than a unilateral expectation of it. He must, instead, have a legitimate claim

of entitlement to it.” Harrington v. Cnty. of Suffolk, 607 F.3d 31, 34 (2d Cir. 2010)

(internal quotation marks omitted) (quoting Town of Castle Rock, Colo. v. Gonzales, 545

U.S. 748, 756 (2005)).

       Among the plaintiffs, only Fairfield asserts a violation of her right to procedural

due process. See Pls.’ Mem. of Law in Obj. to Mansfield Defs’. Mot. to Dismiss (“Pls.’




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Mem.”) (Doc. No. 121-1) at 18.3 She argues that the PZC deprived her of her property

interest in the value of her home and her liberty interest in not being confined to walking

only in her home. See id. at 19–20; 4th Am. Compl. at ¶¶ 124–26. In addition, Fairfield

appears to argue that she has a protected interest in the hearing process for zoning

changes itself. See id. at 18–19. Defendants argue that Fairfield fails to state a claim

for relief because “a detrimental impact on her property value” is not a protected

property interest under the Fourteenth Amendment. See Defs.’ Mem. of Law in Supp.

of Mot. to Dismiss (“Defs.’ Mem.”) (Doc. No. 119-1) at 8.

        Fairfield’s claim under the Due Process Clause fails because she has not alleged

that she has been deprived of a protected interest. The Second Circuit has determined

that the diminishment of property values is not a deprivation of a property interest. See

Fusco v. Connecticut, 815 F.2d 201, 206 (2d Cir. 1987) (holding that a decline in real

property value is not a deprivation cognizable under the Fourteenth Amendment); BAM

Historic District Ass’n v. Koch, 723 F.2d 233, 237 (2d Cir. 1983) (same). Fairfield

argues that she was harmed by the defendants’ alleged evasion of the procedural

safeguards in the Mansfield Zoning Regulations and state statutes, which has left a

protected class under the FHA with no recourse to address disparate impact outside of



          3 Plaintiffs’ brief in opposition to the Motion to Dismiss contains a background section with 12 and

a half single-spaced pages that are copied and pasted from the Fourth Amended Complaint. See Pls.’
Mem. at 4–16. Plaintiffs also replicate paragraphs from the Fourth Amended Complaint in each section of
their brief in lieu of making arguments. See id. at 19–20, 22–23. Considering that the court and all of the
parties already have a copy of the Fourth Amended Complaint, the court can see no reason why plaintiffs
reproduced the Fourth Amended Complaint in their brief, let alone did so in violation of Local Rule 10.

        Additionally, after defendants filed a reply to plaintiffs’ brief, plaintiffs filed a sur-reply without
permission of the court in violation of District of Connecticut Local Civil Rule 7(d). Plaintiffs’ briefing is
inexcusable for a counseled complaint. Plaintiffs’ conduct is even more surprising given the history of
pleadings leading up to this latest round of briefing. In its Ruling on defendants’ first Motion to Dismiss
and plaintiffs’ Motion to Amend, the court admonished plaintiffs that “[t]his is the plaintiffs’ last opportunity
to remedy the legal and typographic errors which have littered the previous complaints.” Ruling at 13.

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litigation. See Pls.’ Mem. at 19. However, adverting to protected class status under the

FHA cannot erase the first step of the Due Process analysis—the identification of an

underlying liberty or property interest. See Olim v. Wakinekona, 461 U.S. 238, 250

(1983) (“Process is not an end in itself. Its constitutional purpose is to protect a

substantive interest to which the individual has a legitimate claim of entitlement.”) To

the extent Fairfield believes she was subjected to disparate treatment on the basis of

her membership in protected class under the FHA, her recourse lies in the FHA, not in

the Due Process Clause.

       Fairfield’s allegation that she could be deprived of her liberty to walk outside of

her home also does not support a Due Process claim. Although diminishment of the

value of her home was the sole interest Fairfield pled in the Fourth Amended Complaint,

Fairfield also argues in plaintiffs’ brief in opposition to the Motion to Dismiss that the

approval of the Lambert special permit could limit her to only walking in her home. See

Pls.’ Mem. at 20. Fairfield has not indicated where she derived the liberty interest she

has defined as “not being confined to walking only in her home.” See Wilkinson v.

Austin, 545 U.S. 209, 221 (2005) (“A liberty interest may arise from the Constitution

itself, by reason of guarantees implicit in the word “liberty,” or it may arise from an

expectation or interest created by state laws or policies.”) (citations omitted). The court

need not conduct an inquiry into the origins of such an interest because Fairfield has not

plausibly alleged that her liberty to walk outside of her home is at stake. The Mansfield

defendants approved a two-bedroom unit. 4th Am. Compl. at ¶ 101. It is inconceivable

that the future occupants of a two-bedroom unit will prevent Fairfield from ever walking

outside.



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       Without a protected interest in real property value or another interest protected

by the hearing process, the Due Process Clause is not implicated. Fairfield’s

Fourteenth Amendment claim is therefore dismissed.

        B.     Fair Housing Act

       The defendants argue that Fried—the only plaintiff to bring a claim under the

FHA—has failed to state a claim because she does not allege that the PZC denied her

housing or the ability to do anything on her property. See Defs.’ Mem. at 12. Moreover,

it is unclear what injury the PZC’s grant of Lambert’s special use application caused

Fried under the FHA. See id. at 13. Fried argues that the PZC violated her rights under

the FHA when it declined to consider any disparate impact on the elderly with

disabilities in PZC special permit applications, even after such a concern was raised

during a public hearing. See Pls.’ Mem. at 22.

       The FHA, as amended by the Fair Housing Amendments Act (“FHAA”) in 1988,

“prohibits governmental agencies from implementing or enforcing housing policies in a

discriminatory manner against persons with disabilities.” Tsombanidis v. West Haven

Fire Dep’t, 352 F.3d 565, 573 (2d Cir. 2003), superseded on other grounds by Mhany

Mgmt., Inc. v. Cty. Of Nassau, 819 F.3d 581 (2d Cir. 2016); see also 42 U.S.C. § 3604.

The FHAA provides that it is unlawful “[t]o discriminate in the sale or rental, or to

otherwise make unavailable or deny, a dwelling to any buyer or renter because of a

handicap,” 42 U.S.C. § 3604(f)(1), and “[t]o discriminate against any person in the

terms, conditions, or privileges of sale or rental of a dwelling, or in the provision of

services or facilities in connection with such dwelling, because of a handicap,” 42

U.S.C. § 3604(f)(2). “To establish discrimination under . . . the FHAA . . . plaintiffs have



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three available theories: (1) intentional discrimination (disparate treatment); (2)

disparate impact; and (3) failure to make a reasonable accommodation.” Quad

Enterprises Co., LLC v. Town of Southold, 369 Fed. App’x 202, 205 (2d. Cir. 2010)

(quoting Tsombanidis, 352 F.3d at 573). Fried brings claims under the second and third

theories: disparate impact and failure to make a reasonable accommodation.4

        In order to make out a prima facie case under a disparate impact theory, a

plaintiff must show “(1) the occurrence of certain outwardly neutral practices, and (2) a

significantly adverse or disproportionate impact on persons of a particular type

produced by the defendant’s facially neutral acts or practices.” Mhany Management,

Inc. v. County of Nassau, 819 F.3d 581, 617 (2d Cir. 2016) (quoting Reg’l Econ. Cmty.

Action Program, Inc. v. City of Middletown, 294 F.3d 35, at 52–53 (2d Cir. 2002)).

Plaintiffs “must first identify members of a protected group that are affected by the

neutral policy and then identify similarly situated persons who are unaffected by the

policy.” Tsombanidis 352 F.3d at 576–77. Through this comparison, the plaintiff must

establish “a significantly adverse or disproportionate impact” on a protected group of

individuals. Id. (quoting Hack v. President of & Fellows of Yale Coll., 237 F.3d 81, 90

(2d Cir. 2000)).

        Fried fails to clearly identify an outwardly neutral policy or practice that is subject

to challenge under the FHAA on a disparate impact theory. Fried alleges that the



        4 Although plaintiffs allege that Town Councilman Ben Shaiken displayed “invidious discriminatory
animus” when he told Lowe that “her appeal was a waste of taxpayer money,” 4th Am. Compl. at ¶¶ 49,
111, Fried makes no mention of a disparate treatment theory in the Fourth Amended Complaint or in her
Objection to Defendants’ Motion to Dismiss.

        In the absence of any facts in the Fourth Amended Complaint or legal argument in plaintiffs’ brief
regarding disparate treatment, the court assumes Fried now only brings her FHA claim under disparate
impact and reasonable accommodation theories.

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“policy or practice is not to consider disparate impact on a protected class [the elderly

with disabilities] is not [sic] considered in PZC special permit applications, even when

claims are raised during public hearings.” Pls.’ Mem. at 22. The court is struggling to

construe Fried’s challenge of a purported practice of not considering disparate impact

on the elderly with disabilities as a facially-neutral policy or practice. See Reg’l Econ.

Cmty. Action Program, Inc. v. City of Middletown, 294 F.3d 35, 52–53 (2d Cir. 2002)

(noting that a “disparate impact analysis examines a facially-neutral policy or practice”

and that plaintiffs must show the occurrence of “outwardly neutral practices”). In

arguing that there should be a particular process in place to evaluate the impact of any

zoning decision on the elderly with disabilities, Fried has defined her claim based on the

treatment of the elderly with disabilities as compared to other populations. The alleged

practice she challenges is plainly not facially neutral. The FHAA does not guarantee a

member of a protected class the right to direct administrative bodies to follow a

particular process; rather, among other forms of discrimination, it prohibits neutral

practices that themselves have a disproportionate impact on a protected class.

       In addition to not being outwardly neutral, the process by which the PZC

considered the Lambert special permit application also does not constitute a practice.

Fried only challenges the process by which the PZC considered a single special permit

application. She does not identify any additional special permit applications beyond

asserting the conclusory allegation that there is a “policy and practice.” See Pls.’ Mem.

at 22. One act cannot form the basis for a disparate impact claim. See Reg’l Econ.

Cmty. Action Program, Inc., 294 F.3d at 53 (finding that one specific act—the denial of a




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special-use permit—did not constitute a facially-neutral policy or practice for purposes of

a disparate impact claim).5

        Even assuming that Fried had challenged a facially-neutral practice, she has not

plausibly alleged that there will be a significantly adverse or disproportionate impact on

a protected class. First, Fried speculates that a couple of college-aged students will

move into the Lambert two-bedroom efficiency unit. See 4th Am. Compl. at ¶ 96, Ex. A

at 3. Second, based on national averages that college-aged students drive more

recklessly than the general population, see 4th Am. Compl., Ex. A at 3, Fried predicts

that the residents of Lambert’s unit will drive dangerously on Olsen Drive. Fried’s

allegation is based on her experience that “alcohol consumption is a major contributing

factor in [college-age drivers’] automobile accidents,” see id., and therefore assumes

that the potential residents of Lambert’s property will be drunk driving during times when

elderly neighbors with disabilities will be walking outside. Third, Fried alleges that the

risk presented by the new residents’ driving will impact the elderly with disabilities more

than similarly situated populations without a disability and thereby disproportionately

prevent the elderly with disabilities from walking outside. Even if the court accepts the

first two allegations as plausibly asserted, which the court is unlikely to do, the

prevalence of falls among the elderly in general, see 4th Am. Compl. at ¶ 99, does not

plausibly support this last specific allegation. The court cannot reasonably infer from

these allegations that non-elderly, non-disabled people living in a neighborhood with




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          If Fried were challenging a practice of granting special permits generally, which, unlike the
purported practice she describes, is a facially neutral act, she would still not have alleged facts to make
out a disparate impact theory because she has only alleged that one special permit application has been
approved.

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reckless student drivers due to special permits allowing construction of one or more

efficiency units would be more likely to walk outside than elderly disabled residents: it is

not plausible that anyone would walk under such circumstances, severe enough to

deter the elderly with disabilities. No reasonable juror could believe Fried’s claim, which

is based on conjecture upon conjecture.

       To state a prima facie case for discrimination based on a failure to reasonably

accommodate, “a plaintiff must show (1) that the plaintiff or a person who would live with

the plaintiff had a handicap within the meaning of § 3602(h); (2) that the defendant knew

or reasonably should have been expected to know of the handicap; (3) that the

accommodation was likely necessary to afford the handicapped person an equal

opportunity to use and enjoy the dwelling; (4) that the accommodation requested was

reasonable; and (5) that the defendant refused to make the requested accommodation.”

Olsen v. Stark Homes, Inc., 759 F.3d 140, 156 (2d Cir. 2014); see also 42 U.S.C. §

3604(f)(3). “Plaintiffs must show that, but for the accommodation, they likely will be

denied an equal opportunity to enjoy the housing of their choice.” Id. (quoting

Tsombanidis, 352 F.3d at 578).

       Fried alleges that she was denied a reasonable accommodation when the PZC

refused to consider at the public hearing the disparate impact of the Lambert special

permit on the elderly with disabilities and proceeded to grant Lambert’s application. See

Pls.’ Mem. at 23. She claims that the approval of the special permit will result in

increased traffic from student drivers—who allegedly have more automobile accidents

than the general population—and endanger the elderly with disabilities who walk on

Olsen Drive. See 4th Am. Compl. at ¶ 105; Ex. A at 4. Fried has not plausibly alleged



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that she will not be able to walk outside if one or two college-aged people move into the

neighborhood. It is quite simply not a reasonable inference to conclude that the

accommodation Lambert requested was necessary for her to use or enjoy her dwelling.

Moreover, one of Fried’s requested accommodations—consideration of the impact on

people with handicaps during zoning decisions—is even farther removed from any

conceivable direct effect on her than the special permit approval itself.

       Fried also does not allege facts regarding how the accommodation she

requested relates to her specific physical condition. See Salute v. Stratford Greens

Garden Apartments, 136 F.3d 293, 301 (2d Cir. 1998) (“[T]he duty to make reasonable

accommodations is framed by the nature of the particular handicap.”) Fried alleges

that she has Osteoporosis and CREST Syndrome and “has related medical needs for

exercise.” See 4th Am. Compl. at ¶ 10. Even assuming that every licensed student age

driver poses a danger to pedestrians, Fried does not allege how she has a different

need for exercise, or is at greater risk when walking as a result of the approval of the

efficiency unit at 17 Olsen Drive, than someone without her disability. See Henrietta D.

v. Bloomberg, 331 F.3d 261, 276 (2d Cir. 2003) (recognizing that the FHAA is

“addressed to rules . . . that hurt [people with disabilities] by reason of their handicap,

rather than that hurt them solely by virtue of what they have in common with other

people.” (emphasis in original) (quoting Good Shephard Manor Found., Inc. v. City of

Momence, 323 F.3d 557, 561 (7th Cir. 2003)).

       In addition to her claim under the FHA, Fried brings a claim under section 1982

of title 42 of the United States Code. See 4th Am. Compl. at ¶ 135; 42 U.S.C. § 1982

(“All citizens of the United States shall have the same right . . . as is enjoyed by white



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citizens . . . to inherit, purchase, lease, sell, hold, and convey real and personal

property.”) Because Fried does not allege that she was discriminated against on the

basis of her race, she has failed to state a claim under section 1982. See Gomez-Perez

v. Potter, 553 U.S. 474, 479 (2008) (holding that banning “discrimination based on race”

is the plain meaning of section 1982); see also Jones v. Alfred H. Mayer Co., 392 U.S.

409, 413 (1968) (recognizing that 42 U.S.C. § 1982 “deals only with racial

discrimination.”)

        C.     State Law Claims

       Plaintiffs allege violations of section 8-23 of the Connecticut General Statutes

(Count One) and private nuisance (Count Four). Because the plaintiffs’ federal causes

of action are dismissed, the court cannot exercise supplemental jurisdiction over the

state law claims. Therefore, Count One and Count Four are dismissed.

VI. CONCLUSION

       For the foregoing reasons, the defendants’ Motions to Dismiss (Doc Nos. 118

and 119) are granted.

SO ORDERED.

       Dated at New Haven, Connecticut this 10th day of January, 2018.


                                           /s/ Janet C. Hall
                                           Janet C. Hall
                                           United States District Judge




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